       Case 4:05-cv-00162-RH-WCS Document 3 Filed 05/16/05 Page 1 of 2


                                                                                       Page 1 of 2


                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION


DON FAIRFIELD,

       Petitioner,
vs.                                                       Case No. 4:05cv162-RH/WCS

WARDEN, BOP, et al.,

     Respondents.
_________________________________/

                                          ORDER

       Petitioner, an inmate proceeding pro se, has filed a petition for writ of habeas

corpus pursuant to 28 U.S.C. § 2241. Doc. 1. Petitioner has failed, however, to pay the

required $5.00 filing fee or, alternatively, to file an application for leave to proceed in

forma pauperis (IFP). Review of Petitioner's petition will be deferred until the $5.00

filing fee is paid or an application for leave to proceed in form pauperis is submitted.

       Accordingly, it is ORDERED:

       1. The clerk of court shall forward to Petitioner an application for leave to

proceed in forma pauperis.
        Case 4:05-cv-00162-RH-WCS Document 3 Filed 05/16/05 Page 2 of 2


                                                                                     Page 2 of 2


        2. Petitioner shall have until June 17, 2005, to either file an application for leave

to proceed in forma pauperis, or pay the $5.00 filing fee.

        3. Failure to respond to this order as instructed will result in a recommendation

of dismissal of this action for failure to prosecute and failure to comply with an order of

this court.

        DONE AND ORDERED on May 16, 2005.



                                            S/ William C. Sherrill, Jr.
                                           WILLIAM C. SHERRILL, JR.
                                           UNITED STATES MAGISTRATE JUDGE




Case No. 4:05cv162-RH/WCS
